Case 4:11-cr-40037-SOH          Document 1515  Filed 04/27/15              Page 1 of 1 PageID #:
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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                 Case No. 4:11-cr-40037-032

PATRICK CORNELIUS, JR.                                                               DEFENDANT

                                             ORDER

       Before the Court are two motions filed by Defendant Patrick Cornelius, Jr. Cornelius has filed

a Motion to Award the Time Spent in Miller County Jail as a Federal Prisoner (ECF No. 1253) and a

Motion for Credit for Prior Custody (ECF No. 1270). Cornelius was released from federal custody on

March 30, 2015. (ECF No. 1494). Therefore, the Court finds that these motions for credit for time

served are moot.

       IT IS SO ORDERED this 27th day of April, 2015.


                                                             /s/ Susan O. Hickey
                                                             Susan O. Hickey
                                                             United States District Judge
